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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

UNITED STATES OF AMERICA                         §
                                                 §
                                                 §
v.                                               §     No. 3:15-cr-00501-N-2
                                                 §
MANUEL MARCUS HOWARD,                            §
#50901-177                                       §
           Defendant.                            §

                           MEMORANDUM OPINION AND ORDER

        Before the Court is Defendant Manuel Marcus Howard’s motion for a compassionate

 release under 18 U.S.C. § 3582(c)(1)(A). Doc. 128. For the following reasons, the motion is

 denied.

                                                 I.

        Howard and accomplices robbed several convenience stores at gunpoint. See Doc. 53-1 at

 ¶¶ 7-19. He pleaded guilty to four counts of Hobbs Act Robbery, in violation of 18 U.S.C. § 1951,

 and one count of discharging a firearm during one of those robberies, in violation of 18 U.S.C. §

 924(c)(1)(A)(iii). Doc. 69 at 1. On April 21, 2016, the Court sentenced him to 70 months on each

 of the robbery counts to run concurrently with each other and 120 months on the § 924(c) charge

 to run consecutively to the robbery counts. Id. at 2. Howard did not appeal. He filed a motion to

 vacate the judgment under 28 U.S.C. § 2255, which was denied in 2018. See Howard v. United

 States, No. 3:17-cv-1981-N-BK (N.D. Tex. Apr. 16, 2018).

        In 2023, Howard filed the pending motion for compassionate release under 18 U.S.C. §

 3582(c)(1)(A). Doc. 128. He argues that a sentence reduction is appropriate because: (1) he was

 only 19 when he committed the crimes and has served “44.5% of [his] full-term and 50.4% of [his]

 statutory sentence,” (2) he has earned his G.E.D. and completed other rehabilitation programs, (3)
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he was not given a mental health evaluation before sentencing despite having documented mental

health disorders, and (4) he would not receive the same sentence today. See Doc. 128.

                                                          II.

         A prisoner seeking compassionate release must show that (1) “extraordinary and

compelling reasons” justify the reduction of his sentence, (2) the reduction is “consistent with

applicable policy statements issued by the Sentencing Commission,” and (3) early release would

be consistent with the sentencing factors in 18 U.S.C. § 3553(a). United States v. Jackson, 27 F.

4th 1088, 1089 (5th Cir. 2022); 18 U.S.C. § 3582(c)(1)(A).1

         Section 3582(c)(1)(A) does not define the “extraordinary and compelling reasons” that may

merit compassionate release. Rather, Congress elected to delegate its authority to the Sentencing

Commission. See 28 U.S.C. § 994(t). The Sentencing Commission has issued a policy statement

providing for six types of “extraordinary and compelling reasons” that may justify a sentence

reduction: (1) medical conditions, (2) age, (3) family circumstances, and (4) abuse of defendant

while in custody, (5) other reasons, and (6) an unusually long sentence. U.S.S.G. § 1B1.13.

         Starting with Howard’s age at the time of the crime, there are no Fifth Circuit cases

considering whether this can be a compelling reason for a compassionate release, and district court

cases that have considered this issue have come to different conclusions. See United States v.

Hickman, 2024 WL 13405767, at *7 (E.D. Tex. Mar. 13, 2024).




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 Additionally, before seeking relief from the court, a defendant must submit a request to the warden of his facility to
move for compassionate release on his behalf and then either exhaust his administrative remedies or wait for the lapse
of 30 days after the warden received the request. See 18 U.S.C. § 3582(c)(1)(A); United States v. Garrett, 15 F.4th
335, 337, 338 (5th Cir. 2021) (“[A]n inmate has two routes by which he may exhaust his administrative remedies.
Both begin with ‘requesting that the [BOP] bring a motion on the defendant’s behalf.’”) (citation omitted). But the
government must raise the exhaustion defense—the Court cannot do it sua sponte. See United States v. McLean, No.
21-40015, 2022 WL 44618, at *1-2 (5th Cir. Jan. 5, 2022) (vacating the denial of a compassionate release when the
government did not raise the exhaustion issue). Here, because the Government has not filed a response and therefore
has not raised the exhaustion defense, the Court assumes that Howard has exhausted his compassionate release claims.

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       Here, the Court, in its discretion, does not find that Howard’s youth at the time of the crimes

warrants a sentence reduction. The Court already took Howard’s age into consideration when it

sentenced him. See United States v. Acosta, 584 F. App’x 276, 277 (5th Cir. 2014) (“Age and lack

of guidance as a youth are factors that may be considered under § 3553(a).”). In fact, Howard’s

counsel argued that his youth warranted a downward departure, and the Court disagreed. See Doc.

124 at 12 (“And so I’m going to deny the request for a downward variance; find that the Guideline

range is reasonable. It’s a high sentence in this case for a young man, but it’s certainly in keeping

with the number of offenses that you committed in this case, Mr. Howard.”). Howard presents

nothing new here that would justify a sentence reduction. See United States v. Clark, 2023 WL

2815152, at *8 (E.D. Tex. Apr. 6, 2023) (acknowledging that “[j]uveniles are different from

adults” but refusing to find that the defendant’s age at the time of the crime was an extraordinary

circumstance warranting a sentence reduction under § 3582(c)(1)(A) where “[the defendant’s]

youth at the time of his offenses…was taken into account during sentencing.”).

       Next, Howard complains that he was not given a mental health evaluation before

sentencing. To the extent that Howard claims that his sentence is invalid because he was not given

a mental health evaluation, “a prisoner cannot use § 3582(c) to challenge the legality or duration

of his sentence; such arguments can, and hence must, be raised under Chapter 153.” United States

v. Escajeda, 58 F. 4th 184, 187 (5th Cir. 2023). So, Howard is not entitled to a compassionate

release based on an alleged sentencing error.

       Next, Howard claims that he would not receive the same sentence today, but he does not

explain why, and it is not evident to the Court. He cites a district court case from the Eleventh

Circuit, United States v. Louis, No. 21-cr-20252, 2023 WL 2240544, at *1 (S.D. Fla. Feb. 27,

2023), in which the court granted relief under Federal Rule of Criminal Procedure 34 because the



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Hobbs Act robbery jury instructions were overbroad. But Howard fails to explain how that case

helps him. He did not have a jury trial, so there were no jury instructions in his case. And, at any

rate, an argument challenging the validity of jury instructions in a compassionate release motion

would be foreclosed under Escajeda. At bottom, he fails to establish that he would not receive the

same sentence today, so this is not a compelling reason for a sentence reduction.2

         Finally, Howard points to his rehabilitation efforts while in prison. But, while laudable, a

defendant’s rehabilitation is not alone sufficient to justify a sentence reduction under §

3582(c)(1)(A). See, e.g., United States v. Hudec, No. 4-91, 2020 WL 4925675, at *5 (E.D. Tex.

Aug. 19, 2020) (“While the Court is permitted to consider post-sentencing rehabilitation in

determining whether to grant an eligible defendant a sentence reduction, it is not authorized to

grant a reduction based upon post-sentencing rehabilitation alone.”). Put differently, because

Howard has failed to establish any other extraordinary circumstance, his rehabilitation efforts

alone do not warrant a compassionate release.

                                                                III.

         Even if Howard demonstrated extraordinary and compelling circumstances justifying his

release, the Court must consider the sentencing factors. 18 U.S.C. § 3553(a). Based on the record

as a whole and after weighing the sentencing factors, the Court finds in its discretion that they do

not support a sentence reduction. See United States v. Chambliss, 948 F.3d 691, 692-93 (5th Cir.

2020) (“compassionate release is discretionary, not mandatory”). Howard is incarcerated for a

series of armed robberies in which he brandished firearms and threatened to shoot store clerks, in


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  Even if Howard had established a change in law that would result in a different sentence today, he has not shown a
compelling reason for a sentence reduction under the applicable policy statement, pursuant to which a change in the
law can be an extraordinary circumstance if (1) the defendant received an “unusually long sentence,” (2) he has served
at least ten years of that sentence, and (3) there is a “gross disparity between the sentence being served and the sentence
likely to be imposed at the time the motion is filed.” U.S.S.G. § 1B1.13(b)(6). Without addressing whether Howard
could show his sentence is “unusually long” or whether a “gross disparity exists,” the Court notes that Howard has
not served ten years of his sentence.

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one instance pistol whipping the clerk, resulting in the accidental discharge of the weapon. Doc.

53-1 at ¶¶ 10-13. At sentencing, the Court described Howard’s offenses as “serious robberies.”

Doc. 124 at 11. And in light of the serious nature of the offenses, the Court imposed the 190-month

sentence.

       Thus, reducing Howard’s sentence now will not adequately reflect the seriousness of his

offense, promote respect for the law, provide just punishment for the offense, adequately deter

criminal conduct, or protect the public from further crimes. To date, Howard has served little more

than half of his sentence, and his projected release date is not until November 2, 2029. See United

States v. Thompson, 984 F.3d 431, 433-34 (5th Cir. 2021) (reserving compassionate release for

defendants who “had already served the lion’s share of their sentences”); see also Inmate Locator

(bop.gov) (last visited July 8, 2024).

       Howard relies on his rehabilitation efforts, good conduct, and programming. The Court

commends Howard for all his hard work and achievements; yet even considering Conception v.

United States, the Court finds that the § 3553(a) factors do not support a sentence reduction at this

time. 597 U.S. 481, 486 (2022) (“[A] district court adjudicating a motion under the First Step Act

may consider other intervening changes of law (such as changes to the Sentencing Guidelines) or

changes of fact (such as behavior in prison) in adjudicating a First Step Act motion.”).

                                                      IV.

       Howard’s motion for a compassionate release under 18 U.S.C. § 3582(c)(1)(A) (Doc. 128)

is denied.

       So ordered, this 12th day of July, 2024.




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                                      _______________________________________
                                      DAVID C. GODBEY
                                      CHIEF UNITED STATES DISTRICT JUDGE




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